AO 248 (Rev. 08/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)

                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI

 UNITED STATES OF AMERICA
                                                         Case No. 16-00374-CR-W-RK


 v.                                                       ORDER ON MOTION FOR
                                                          SENTENCE REDUCTION UNDER
                                                          18 U.S.C. § 3582(c)(1)(A)

 MEGAN BAILEY,                                            (COMPASSIONATE RELEASE)


        Upon motion of       the defendant      the Director of the Bureau of Prisons for a

reduction in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable

factors provided in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the

Sentencing Commission,

IT IS ORDERED that the motion is:

      GRANTED

            The defendant’s previously imposed sentence of imprisonment of              is reduced to

       . If this sentence is less than the amount of time the defendant already served, the sentence

is reduced to a time served; or

            Time served.

        If the defendant’s sentence is reduced to time served:

                       This order is stayed for up to fourteen days, for the verification of the

                       defendant’s residence and/or establishment of a release plan, to make

                       appropriate travel arrangements, and to ensure the defendant’s safe

                       release. The defendant shall be released as soon as a residence is verified,

                       a release plan is established, appropriate travel arrangements are made,



          Case 4:16-cr-00374-RK Document 436 Filed 12/30/20 Page 1 of 3
                and it is safe for the defendant to travel. There shall be no delay in

                ensuring travel arrangements are made. If more than fourteen days are

                needed to make appropriate travel arrangements and ensure the

                defendant’s safe release, the parties shall immediately notify the court and

                show cause why the stay should be extended; or

                There being a verified residence and an appropriate release plan in place,

                this order is stayed for up to fourteen days to make appropriate travel

                arrangements and to ensure the defendant’s safe release. The defendant

                shall be released as soon as appropriate travel arrangements are made and

                it is safe for the defendant to travel. There shall be no delay in ensuring

                travel arrangements are made. If more than fourteen days are needed to

                make appropriate travel arrangements and ensure the defendant’s safe

                release, then the parties shall immediately notify the court and show cause

                why the stay should be extended.

      The defendant must provide the complete address where the defendant will reside

upon release to the probation office in the district where they will be released because it

was not included in the motion for sentence reduction.

      Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a “special term”

of      probation or     supervised release of         months (not to exceed the unserved

portion of the original term of imprisonment).

             The defendant’s previously imposed conditions of supervised release apply to

         the “special term” of supervision; or

             The conditions of the “special term” of supervision are as follows:


                                 2
     Case 4:16-cr-00374-RK Document 436 Filed 12/30/20 Page 2 of 3
            The defendant’s previously imposed conditions of supervised release are unchanged.

            The defendant’s previously imposed conditions of supervised release are modified as

         follows:



    DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS the

United States Attorney to file a response on or before        , along with all Bureau of Prisons

records (medical, institutional, administrative) relevant to this motion.

    DENIED after complete review of the motion on the merits.

            FACTORS CONSIDERED (Optional)

         The Court considers Ms. Bailey's medical condition, the ongoing pandemic in relation to

her medical conditions, the crime of conviction, remaining sentence to be served, rehabilitation

efforts, and the danger the defendant poses to the community. The Court finds Ms. Bailey has

not established extraordinary and compelling reasons for early release. Additionally, the Court

finds she remains a danger to the community. Therefore, her motion for compassionate release is

DENIED.

            DENIED WITHOUT PREJUDICE because the defendant has not exhausted all

administrative remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days lapsed since

receipt of the defendant’s request by the warden of the defendant’s facility.

IT IS SO ORDERED.

Dated:

December 30, 2020                                         Roseann A. Ketchmark
                                                     UNITED STATES DISTRICT JUDGE



                                       3
           Case 4:16-cr-00374-RK Document 436 Filed 12/30/20 Page 3 of 3
